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9                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
10

11                                                         ) Case No.
       DAVID VACCARO, individually and on                  ) 2:19-cv-10363-TJH-E
12
       behalf of all others similarly situated,            )
13
                                                           )
14
       Plaintiff,                                          )
                                                           ) NOTICE OF SETTLEMENT
15     vs.                                                 ) AS TO INDIVIDUAL CLAIMS
16                                                         ) ONLY
       NEXTDOOR.COM, INC.,                                 )
17
                                                           )
18     Defendant.                                          )
19

20           NOW COMES THE PLAINTIFF by and through their attorney to
21
     respectfully notify this Honorable Court that this case has settled individually.
22
     Plaintiff requests that this Honorable Court vacate all pending hearing dates and
23
     allow sixty (60) days with which to file dispositive documentation. This Court
24
     shall retain jurisdiction over this matter until fully resolved.
25
     Dated: June 12, 2020               Law Offices of Todd M. Friedman, P.C.
26

27                                                              By: s/ Adrian R. Bacon
28                                                                    Adrian R. Bacon



                                         Notice of Settlement
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1
                              CERTIFICATE OF SERVICE
2

3    Filed electronically on June 12, 2020, with:
4
     United States District Court CM/ECF system
5

6
     Notification sent electronically on June 12, 2020, to:

7    To the Honorable Court, all parties and their Counsel of Record
8

9
     s/Adrian R. Bacon
10    Adrian R. Bacon
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                                        Notice of Settlement
